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 EXHIBIT 7
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                                                                    Case No: HC12B04996
Neutral Citation Number: [2016] EWHC 1829 (Ch)
IN THE HIGH COURT OF JUSTICE
CHANCERY DIVISION

                                                                             Rolls Building
                                                            Fetter Lane, London EC4A 1NL

                                                                        Date: 22 July 2016

                                      Before :

                              MR JUSTICE ARNOLD

                                     Between :

                               HELENA GORBUNOVA                                  Claimant
                                           and
                     (1) The Estate of BORIS BEREZOVSKY(also                   Defendants
                          known as PLATON ELENIN) (deceased)
                    (2) SOCIETE D’INVESTISSMENTS FRANCE
                                         IMMEUBLES
                                      (3) OVACO AG
                                 (4) COMODO LIMITED
                             (5) LMC TRUSTEES LIMITED
                                (6) FOTOPARK LIMITED
                               (7) STEELVILLE LIMITED
                                     (8) LEV KRANT
                    (9) NICHOLAS STEWART WOOD (as Trustee
                          of the Estate of BORIS BEREZOVSKY)
                     (10)     KEVIN JOHN HELLARD (as Trustee
                          of the Estate of BORIS BEREZOVSKY)
                        (11)     MICHAEL THOMAS LEEDS (as
                                Trustee of the Estate of BORIS
                                        BEREZOVSKY)

  Henry Legge QC, Leon Sartin and Hugh Cumber (instructed by Withers LLP) for the
                                      Claimant
Elspeth Talbot Rice QC and Donald Lilly (instructed by Holman Fenwick Willan LLP) for
                          the Ninth to Eleventh Defendants

                             Hearing dates: 6-7 July 2016


                                     Judgment
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MR JUSTICE ARNOLD :

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Introduction

1.     There are two applications before the Court. The first is an application by notice dated
       20 May 2016 by the Ninth to Eleventh Defendants (“the Trustees”), who are the joint
       trustees of the insolvent estate of the late Boris Berezovsky (“the Estate”) to strike
       out, alternatively for summary judgment dismissing, certain proprietary claims made
       by the Claimant (“Ms Gorbunova”), who was Mr Berezovsky’s long-term partner.
       The second is an application by Ms Gorbunova to re-amend her Particulars of Claim
       to introduce claims of equitable assignment, rectification, proprietary estoppel and
       constructive trust and other estoppels. The second application was only foreshadowed
       during the course of, and made following the conclusion of, the hearing of the first
       application. I am grateful to the Trustees’ counsel and solicitors for their readiness to
       argue the second application the following day, which avoided the need for a separate
       hearing possibly before a different judge.

Ms Gorbunova’s evidence

2.     Counsel for Ms Gorbunova relied heavily for the purpose of resisting the Trustees’
       application upon a lengthy and detailed witness statement of Ms Gorbunova running
       to 221 paragraphs. This witness statement was also relied upon in support of Ms
       Gorbunova’s own application, although as will be seen counsel for the Trustees
       submitted that significant parts of the draft Re-Amended Particulars of Claim are in
       fact inconsistent with it. There is no dispute that, for present purposes, Ms
       Gorbunova’s account must be assumed to be true. Accordingly, I must summarise that
       account.

The relationship between Ms Gorbunova and Mr Berezovsky

3.     Mr Berezovsky had two marriages, to Nina Korotkova and Galina Besharova. Ms
       Gorbunova and Mr Berezovsky commenced their relationship in 1991 in Russia. They
       began cohabiting in 1993. In 1996 and 1997 they had two children together, their
       daughter Arina and their son Gleb. They had a wedding ceremony in 1999 and they
       exchanged wedding rings. They only discovered later that they had not been married,
       because Mr Berezovsky had not yet been divorced from Galina. Although they were
       technically never married, they were for all intents and purposes husband and wife for
       almost 20 years.

4.     Mr Berezovsky, a highly successful businessman, was the “breadwinner” of the
       relationship. From about 1993 to 1999 Mr Berezovsky was politically well connected.
       In common with many Russian oligarchs, Mr Berezovsky conducted many of his
       business dealings very informally, even when very large value transactions were
       taking place.

5.     Ms Gorbunova was at Mr Berezovsky’s side as his business and political connections
       grew during the 1990s. She was his partner and his ally through these times. Mr
       Berezovsky treated her as a confidant. From her involvement with Mr Berezovsky’s
       dealings she had a good understanding of their wealth, though she was not aware of
       the precise nature of the structures in which the family assets were held.
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6.     Given their wealth as a couple, they enjoyed a luxurious lifestyle. Despite their
       wealth, the couple faced considerable difficulties during their lives together. Mr
       Berezovsky was the target of death threats and assassination attempts even before his
       political exile, which also threatened the lives of those around him. A driver was
       killed in a car bomb attempt which seriously injured Mr Berezovsky in 1994, and it
       was only good fortune which protected Ms Gorbunova from injury. From 1994
       onwards, they required a high level of security at all times.

7.     In 1999 Mr Berezovsky told Ms Gorbunova that he viewed his family as having three
       branches, and that each would get a third if anything were to happen to him.

8.     In 2000 the family fled from Russia. They first lived in France, before moving to the
       United Kingdom in 2001. The family moved to a property known as Wentworth Park
       in Surrey, which was chosen and furnished by Ms Gorbunova. In 2003 Mr
       Berezovsky was able to obtain political asylum, and he changed his name to Platon
       Elenin. The threats against the couple continued during their time in the UK, and the
       reality of these threats was brought home by the murder of Alexander Litvinenko in
       2006.

9.     Mr Berezovsky always assured Ms Gorbunova that she would be financially secure if
       he should die suddenly. It was important to the family that she should have a
       “заначка” (zanachka), which roughly translates as a “secret stash” or “secret nest-
       egg”. In particular, Mr Berezovsky assured Ms Gorbunova that Wentworth Park and
       its contents were hers. A yacht known as Thunder B, and another yacht which was in
       the process of being constructed, the Darius, were also treated by the couple as
       belonging to Ms Gorbunova. She received about €50 million from the sale of the
       Darius in 2008.

Death of Badri Patarkatsishvili in 2008 and subsequent litigation

10.    Mr Berezovsky faced considerable difficulties when his long-time business partner
       Arkady Patarkatsishvili (known as “Badri”) died unexpectedly in February 2008.
       Badri and Mr Berezovsky were involved in business joint ventures together, and his
       death created cash-flow problems for Mr Berezovsky, as Badri had had control of
       many of Mr Berezovsky’s assets. This led to Mr Berezovsky commencing
       proceedings against Badri’s family (“the AP Family”).

11.    In addition to his dispute with the AP Family, by 2009 Mr Berezovsky was
       conducting litigation on a number of other fronts, including a claim against Roman
       Abramovich, a claim against Vasily Anisimov relating to an entity called
       Metalloinvest and a claim concerning certain entities called Salford. These four
       claims are referred to as “the Litigation”.

12.    It was understood that the outcome of Mr Berezovsky’s litigation would benefit the
       family. He was concerned to ensure that his litigation should continue for his family’s
       benefit if he should die suddenly, and attempted to make arrangements to that effect.

13.    Just as with his business dealings, Mr Berezovsky would discuss his litigation in
       detail with Ms Gorbunova. Ms Gorbunova permitted Mr Berezovsky to make use of
       large sums from her accounts to fund his litigation. It was always understood that he
       would repay these sums regardless of the outcome of the litigation. Ms Gorbunova
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       also permitted Mr Berezovsky to use her yacht, the Thunder B, to obtain a tape
       recording Mr Berezovsky thought would assist his case against Mr Abramovich.

14.    In 2010 Ms Gorbunova agreed to Mr Berezovsky raising a mortgage over the family
       home at Wentworth Park.

End of the relationship in 2011

15.    The relationship between Mr Berezovsky and Ms Gorbunova gradually deteriorated in
       2011. However, in 2011 both Mr Berezovsky and Ms Gorbunova were heavily
       involved in the action against Mr Abramovich, the trial in which began in October
       2011. Ms Gorbunova was a witness for Mr Berezovsky in the action and accompanied
       him to court every day.

16.    Evidence in the trial concluded in early December 2011, removing the distraction of
       attending court. At the time Mr Berezovsky was pressing Ms Gorbunova to permit
       him to raise more money using the family home at Wentworth Park. This brought
       things to a head, and in late December 2011 Mr Berezovsky and Ms Gorbunova
       discussed a financial separation.

The December 2011 conversation

17.    Both Mr Berezovsky and Ms Gorbunova were eager that there should be a clean break
       between them. This was particularly important to Mr Berezovsky, who wished to start
       afresh and get on with other matters. Although the couple were separating, things
       were relatively amicable and the couple were able to discuss matters pragmatically.

18.    Moreover, it was very important to Mr Berezovsky that matters be dealt with quickly
       and quietly. He specifically asked Ms Gorbunova not to discuss their arrangements
       with anyone else. It was clearly in his interest that Ms Gorbunova should not instruct
       lawyers or bring proceedings against him in respect of claims she might have in
       respect of their family property or the children.

19.    Mr Berezovsky repeated his earlier assurances that Ms Gorbunova would receive a
       third of his wealth. However, as he explained, his assets were tied up in litigation. It
       was therefore not possible for him to provide Ms Gorbunova with a lump sum
       immediately. Accordingly, as Ms Gorbunova puts it in paragraph 110 of her statement
       “he offered me a third of our family pot”. She goes on to say in paragraph 111 that
       she “understood [the one-third figure] to relate to his major litigation”, and that she
       had always understood that she would receive “some benefit from” the Abramovich
       case, and in paragraph 112 that this provided her with “a stake in the winnings of the
       litigation” which “would be worth around 1bn as we then thought”.

20.    They also discussed other aspects of their separation, including who would take care
       of the children. It was agreed that Ms Gorbunova would remain in the family home
       and take care of the children, who were still at school age at the time. Mr Berezovsky
       made clear that he accepted financial responsibility for the children and would
       provide for them in the future.

21.    Prior to this discussion, Mr Berezovsky had been seeking Ms Gorbunova’s agreement
       to a re-mortgage of Wentworth Park. During this discussion, however, Mr Berezovsky
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       raised the possibility that Wentworth Park might need to be sold to assist him in
       funding his litigation. Mr Berezovsky promised that, in the event that the house
       needed to be sold, which was only a possibility at this stage, he would purchase a
       similar home for her and the children to live in, and they would be comfortable until
       this could be achieved. Moreover, the sale of Wentworth Park would release further
       capital to make provision for Ms Gorbunova.

22.    During this conversation, Ms Gorbunova had full trust in Mr Berezovsky. Neither Mr
       Berezovsky nor Ms Gorbunova anticipated any difficulty in Mr Berezovsky fulfilling
       his promises as he was expecting large pay-outs from his various cases. They agreed
       that they needed to capture their agreement in writing, but at that stage nothing was
       done about this.

23.    Mr Berezovsky and Ms Gorbunova took separate holidays over the Christmas
       vacation and this led to an argument. During this time their children first became
       aware that their parents’ relationship had come to an end. On their return from
       vacation in January 2012, Mr Berezovsky moved out of the family home.

The January 2012 conversation

24.    On 9 January 2012 Ms Gorbunova signed documents to enable Wentworth Park to be
       re-mortgaged. On or shortly after that date, Mr Berezovsky visited Wentworth Park to
       collect some belongings and he and Ms Gorbunova again discussed their relationship
       and finances.

25.    As Ms Gorbunova recounts in her statement:

        “130. …. We agreed that any recovery Boris received from his four
              litigation proceedings would be split as to one-third to me and
              two-thirds to Boris and the children. …

        131.   We discussed what would happen with Boris’ various claims,
               given his agreement to give me a third. Boris said he would
               consult me in relation to any settlement of his claims.

        132.   He was very clear that the one third was mine and that he
               wouldn’t be able to use it for anything else. This was very
               important as this was the main financial element of our
               separation. Boris said that now that Christmas was over we
               could get something in writing reflecting our discussion about
               the litigation.

        133.   At this time, Boris was assured by AG that he would win all of
               his litigation …. and he was keen to start his new life and
               wanted [to] put his family’s affairs in order. As a result he said
               he would instruct his lawyers to draw up a deed which would
               satisfy me and guarantee mine and my children’s financial
               future.”
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The Litigation Deed

26.    In March 2012 Mr Berezovsky asked Ms Gorbunova to agree to the sale of
       Wentworth Park due to the financial pressure he was experiencing. Ms Gorbunova
       agreed to this and signed the contract of sale. In this context they discussed the need
       for a document recording what had been discussed in December 2011 and January
       2012.

27.    This document was drawn up by those acting for Mr Berezovsky in the form of a deed
       (“the Litigation Deed”). Mr Berezovsky and his in-house legal adviser, Michael
       Cotlick, brought the Litigation Deed to Wentworth Park in March 2012, and showed
       it to Ms Gorbunova. Mr Cotlick asked Ms Gorbunova if she was happy with the
       wording. Ms Gorbunova says in paragraph 144 of her statement that “it looked like it
       reflected the agreement we had and I said that I was happy that it reflected what we
       had discussed”.

28.    Mr Berezovsky signed the Litigation Deed and his signature was witnessed by Mr
       Cotlick, although the document was not dated. It was then presented to Ms
       Gorbunova to keep. She did not receive, nor was she offered, independent legal
       advice in relation to the Litigation Deed.

29.    As Ms Gorbunova recounts:

        “148. At the time that this document was executed I presumed that
              this would give me financial stability and was effective. I
              thought Boris had done everything he needed to do to give full
              effect to our arrangement.

        149.   Boris knew that I had a claim to a portion of the funds from the
               litigation with Abramovich. We both treated the four key
               litigations as a joint venture between us and part of the
               proceeds from the claims would be mine. He still regularly
               came to me with requests to pay translator fees and other
               expenses incurred in the course of the litigation.”

30.    Despite what Ms Gorbunova says about Mr Berezovsky consulting her about the
       Litigation, she also says in paragraph 151:

               “When I discovered that [Mr Berezovsky] had dropped out of
               the Metalloinvest litigation and assigned the claim … to the AP
               Family, this was a great shock. Not only had he done this
               without telling me, but he previously had refused an offer of
               $450m.”

31.    In July 2012 Ms Gorbunova moved to a property in Tite Street, London.

The Commercial Court judgment and settlement with the AP Family

32.    Against his and Ms Gorbunova’s expectations, Mr Berezovsky suffered a very
       significant defeat in his claim against Mr Abramovich. Given the criticisms made of
       the credibility of Mr Berezovsky by Gloster J (as she then was) in her judgment, there
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       was an important practical consequence for Mr Berezovsky in relation to his other
       actions.

33.    Almost immediately, Mr Berezovsky entered into further settlement negotiations with
       the AP Family in relation to his claims against them. Although Ms Gorbunova was
       not present for these negotiations, again Mr Berezovsky kept her informed on their
       progress. Mr Berezovsky was excited that there might be certain non-financial
       benefits for him. In particular, he believed he would be able to return to Russia and
       make a fresh start. He was now willing to accept a much lower sum than had
       previously been offered by the AP Family and rejected by Mr Berezovsky.

34.    By 7 September 2012 the settlement agreement with the AP Family was all but
       concluded. On 7 September 2012 Mr Berezovsky visited Ms Gorbunova at Tite
       Street. He told her that he would receive 150 million (currency unspecified but
       understood to be $) under the terms of the settlement agreement (together with other
       funds which would be used to pay some of the costs of the Abramovich case, Mr
       Berezovsky’s office costs and so on). As Ms Gorbunova puts in paragraph 174 of her
       statement “I understood that … my interest was in the 150 million …”.

35.    However, Mr Berezovsky needed to obtain waivers on behalf of the beneficiaries of a
       settlement called the Belmont Settlement, which included Ms Gorbunova and her
       children. He therefore pressed Ms Gorbunova to sign letters disclaiming their interest.
       Ms Gorbunova was unwilling to do so.

36.    As Ms Gorbunova recounts:

        “179. As we both knew that I was going to receive a third of the
              settlement amount under the … Litigation Deed, we both
              realised that if Boris accepted the settlement on offer, the sum I
              received would be significantly less than we originally
              discussed … I asked about the impact of these changing
              expectations on our original agreement.

        180.   He told me that if I refused, the AP Family would not settle
               and that his financial AND personal affairs would collapse.
               This was when he offered that he would give me the [150
               million] in its entirety minus the retained sums for the balance
               of Abramovich’s costs (£13 million) and AG’s costs (£1.5
               million), if I signed the waivers. I was willing to agree to this.”

The Litigation Agreement and the Settlement Agreement

37.    Mr Berezovsky arranged for Addleshaw Goddard to prepare a written agreement
       reflecting his agreement with Ms Gorbunova. On Saturday 8 September 2012 he
       contacted Ms Gorbunova to ask if she had received the written agreement. When she
       said that she had not, he forwarded to her an email he had received from Mark
       Hastings of Addleshaw Goddard attaching the draft agreement. Mr Hastings’ covering
       email contained advice addressed to Mr Berezovsky about the effect of the document:

               “As I explained to you on the telephone just now:
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               1.      When viewed in isolation, this document is simply a
                       promise to make a gift in the future. Accordingly, it is
                       not a legally enforceable contract, as no consideration is
                       flowing from Elena to you. Elena may seek to argue
                       that the document should not be viewed in isolation and
                       that she has provided good consideration by signing the
                       separate letter consenting to the transfer of notes and/or
                       by doing other things. You therefore have good
                       arguments that you are under no obligation to act upon
                       the terms of this letter in the future but we cannot
                       advise you that a Court will certainly hold this to be the
                       case.

               2.      In the unlikely event that you were to become bankrupt
                       during the qualifying period after gifting any settlement
                       monies to Elena, your trustee in bankruptcy could easily
                       set aside the gift on the basis that its purpose was to
                       defraud your creditors.

               3.      In the unlikely event that you were to become bankrupt
                       before the monies were received from the Family
                       Defendants pursuant to the terms of the settlement, the
                       settlement monies would still form part of the pot
                       available for distribution to your creditors.

               Accordingly, this document is not worth a great deal.

               When we spoke, you confirmed to me that you understood that
               but that Elena was insisting upon it. It would therefore be
               helpful to have the letter in any event.”

38.     Ms Gorbunova had the opportunity to consider this covering email before Mr
        Berezovsky arrived at Tite Street. When he arrived, she confronted Mr Berezovsky
        about the draft agreement, stating that it did not appear to do what Mr Berezovsky had
        said that it would in light of Mr Hastings’ advice. Mr Berezovsky assured her that the
        agreement would be binding. He also stated that there was no time to redraft the
        wording as the waivers would need to be signed immediately.

39.     In response to Ms Gorbunova’s concerns, he promised Ms Gorbunova he would sign
        a more formal document drafted by her lawyers. Accordingly, he added a handwritten
        addendum to the draft agreement recording this. He then signed the agreement and Ms
        Gorbunova counter-signed it (“the Litigation Agreement”). Again, she did not receive
        independent legal advice.

40.     Later that day, a courier arrived with the Belmont Settlement paperwork, and Ms
        Gorbunova signed the waivers on behalf of herself and her children. Ms Gorbunova
        would not have done so without Mr Berezovsky having first entered into the
        Litigation Agreement.

41.     On 9 September 2012 Mr Berezovsky signed the settlement agreement with the AP
        Family (“the Settlement Agreement”).
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Commencement of the proceedings

42.     In October or November 2012 it became apparent that Mr Berezovsky might not
        honour the terms of his agreements with Ms Gorbunova. During the course of a
        heated discussion with Mr Cotlick, she was informed that there were many things she
        did not know. Ms Gorbunova discovered from Mr Cotlick that Mr Berezovsky had
        promised a percentage of the proceeds of litigation to his ex-wife Galina. This led Ms
        Gorbunova to seek independent legal advice for the first time, and ultimately to the
        issuing of these proceedings in December 2012. Ms Gorbunova applied for and was
        granted a freezing order against Mr Berezovsky’s assets.

The death of Mr Berezovsky and the appointment of the Trustees

43.     On 14 March 2013 Mr Berezovsky made a new will under which Ms Gorbunova and
        their children were the major beneficiaries of his estate. Mr Berezovsky died on 23
        March 2013. On 29 April 2013 the Ninth and Tenth Defendants were appointed as
        receivers of his Estate by Morgan J. The Ninth and Tenth Defendants were appointed
        as general administrators of the Estate on 10 April 2014. The Trustees were appointed
        as trustees of the insolvent estate after an insolvency administration order was made
        by Morgan J on 26 January 2015.

The proceedings

44.     Ms Gorbunova’s claims against the Second to Sixth Defendants were stayed pursuant
        to a consent order made by Mann J on 7 May 2014. The Seventh and Eighth
        Defendants have retired from the fiduciary offices which led to them being joined as
        defendant and Ms Gorbunova seeks no relief against them. Thus the Trustees are the
        sole remaining effective defendants to the claim.

45.     The AP Family made a series of payments under the Settlement Agreement to Mr
        Berezovky and then the Estate, and in particular two payments totalling a little under
        $105 million to the Estate in March 2014. The Trustees have resolved proprietary
        claims made by Mr Abramovich and by Mr Berezovsky’s solicitors Addleshaw
        Goddard. About £34 million remains, subject to the payment of bankruptcy and
        administration expenses, including legal costs, out of this sum. This sum is currently
        the Estate’s only substantial asset. Since the Estate has substantial creditors running
        into hundreds of millions of pounds, it is hopelessly insolvent.

46.     In these proceedings Ms Gorbunova asserts both proprietary claims and claims for
        damages against the Estate. The proprietary claims depend on the Litigation Deed and
        the Litigation Agreement. The objective of the Trustees’ application is to dispose of
        the proprietary claims, which will enable the Trustees to distribute the money between
        the various creditors. Although the Trustees challenge the enforceability of both the
        Litigation Deed and the Litigation Agreement, for the purposes of these applications
        both must be assumed to be enforceable.

The Litigation Deed

47.     The Litigation Deed states:

               “This Deed is made on        2012 in London, United Kingdom
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        By Platon Elenin (formerly known as Boris Berezovsky)
        (“PE”) of Wentworth Park, Prune Hill, Surrey TW20 9TR

        Recitals

        A      Helena Gorbunova (formerly known as Elena
               Gorbunova) (‘HG’) of Wentworth Park, Prune Hill,
               Egham, Surrey TW20 9TR is PE’s civil partner.

        B.     PE (under his former name) is currently involved in
               litigation in London, United Kingdom in the following
               cases (‘the Litigation’):

               1.      Boris Abramovich Berezovsky v Roman
                       Arkadievich Abramovich (2007 folio 942)

               2.      Boris Berezovsky v The Estate of A
                       Patarkatsishviii, I Gudavadze and others
                       (HC08CO3549)

               3.      Boris Berezovsky v A Hines, J Gibson, V
                       Anisimov, Cliren Investments and others
                       (HC09CO0494)

               4.      Boris Berezovsky v The             Estate of A
                       Patarkatsishvili, Salford          and    others
                       (HC09CO0711)

        Now this Deed witnesses as follows

        (1)    PE hereby irrevocably and unconditionally covenants
               with HG that he will pay or procure the payment to HG
               of one third of the value of each item of property
               (whether in the form of cash or otherwise) recovered
               through the Litigation (whether recovered by way of
               settlement of the litigation or enforcement of a court
               judgment or otherwise).

        (2)    The payment will become due immediately after each
               property is recovered by PE.

        (3)    In the event that PE’s interest in the property referred to
               in clause (1) above is held through a trust PE shall at
               the times his interest in the trust is secured:

               a.      Request that the trustees within 14 days transfer
                       one third of the value of the assets comprised in
                       the trust (valued at the date PE’s interest is
                       secured) to HG.

               b.      If the trustees do not comply with the request in
                       clause 3(a) above within 14 days PE
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                              irrevocably and unconditionally covenants with
                              HG to pay HG one third of the value of the
                              assets comprised in the trust and such payment
                              shall fall due for payment on the expiry of the
                              14 day period specified in clause 3(a) above.

               (4)    This Deed shall be governed by and construed in
                      accordance with the laws of England and Wales.

               Executed as a deed and delivered on the date appearing at the
               beginning of this Deed.”

The Litigation Agreement

48.     The Litigation Agreement states:

               “If I receive monies pursuant to the terms of a settlement with
               [the AP Family], which monies are free of any encumbrances
               or restrictions, I hereby agree to transfer any and all such
               monies to any bank account as may be designated by you.”

49.     Mr Berezovsky’s handwritten addendum reads:

               “PS I garanty that when Helena Gorbunova will get legal
               advice from her lawyer the new agreement I will take as only
               one wich is in power.”

Principles applicable to summary judgment applications

50.     The principles applicable to summary judgment applications were conveniently
        summarised by Lewison J (as he then was) in the context of defendants’ applications
        in Easyair Ltd v Opal Telecom Ltd [2009] EWHC 339 (Ch) in a passage at [15] which
        was cited with approval by Etherton LJ (as he then was, with whom Sullivan LJ and
        Wilson LJ, as he then was, agreed) in AC Ward & Son v Catlin (Five) Ltd [2009]
        EWCA Civ 1098, [2010] Lloyds Rep IR 301 at [24]:

               “As Ms Anderson QC rightly reminded me, the court must be
               careful before giving summary judgment on a claim. The
               correct approach on applications by defendants is, in my
               judgment, as follows:

               i)      The court must consider whether the claimant has a
                       ‘realistic’ as opposed to a ‘fanciful’ prospect of
                       success: Swain v Hillman [2001] 2 All ER 91;

               ii)     A ‘realistic’ claim is one that carries some degree of
                       conviction. This means a claim that is more than
                       merely arguable: ED & F Man Liquid Products v Patel
                       [2003] EWCA Civ 472 at [8].

               iii)    In reaching its conclusion the court must not conduct a
                       ‘mini-trial’: Swain v Hillman.
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        iv)    This does not mean that the court must take at face
               value and without analysis everything that a claimant
               says in his statements before the court. In some cases it
               may be clear that there is no real substance in factual
               assertions made, particularly if contradicted by
               contemporaneous documents: ED & F Man Liquid
               Products v Patel at [10].

        v)     However, in reaching its conclusion the court must take
               into account not only the evidence actually placed
               before it on the application for summary judgment, but
               also the evidence that can reasonably be expected to be
               available at trial: Royal Brompton Hospital NHS Trust
               v Hammond (No 5) [2001] EWCA Civ 550.

        vi)    Although a case may turn out at trial not to be really
               complicated, it does not follow that it should be
               decided without the fuller investigation into the facts at
               trial than is possible or permissible on summary
               judgment. Thus the court should hesitate about making
               a final decision without a trial, even where there is no
               obvious conflict of fact at the time of the application,
               where reasonable grounds exist for believing that a
               fuller investigation into the facts of the case would add
               to or alter the evidence available to a trial judge and so
               affect the outcome of the case: Doncaster
               Pharmaceuticals Group Ltd v Bolton Pharmaceutical
               Co 100 Ltd [2007] FSR 63.

        vii)   On the other hand it is not uncommon for an
               application under Part 24 to give rise to a short point of
               law or construction and, if the court is satisfied that it
               has before it all the evidence necessary for the proper
               determination of the question and that the parties have
               had an adequate opportunity to address it in argument,
               it should grasp the nettle and decide it. The reason is
               quite simple: if the respondent's case is bad in law, he
               will in truth have no real prospect of succeeding on his
               claim or successfully defending the claim against him,
               as the case may be. Similarly, if the applicant's case is
               bad in law, the sooner that is determined, the better. If
               it is possible to show by evidence that although
               material in the form of documents or oral evidence that
               would put the documents in another light is not
               currently before the court, such material is likely to
               exist and can be expected to be available at trial, it
               would be wrong to give summary judgment because
               there would be a real, as opposed to a fanciful, prospect
               of success. However, it is not enough simply to argue
               that the case should be allowed to go to trial because
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                        something may turn up which would have a bearing on
                        the question of construction: ICI Chemicals &
                        Polymers Ltd v TTE Training Ltd [2007] EWCA Civ
                        725.”

Principles applicable to the interpretation of written documents

51.     The principles of contractual interpretation have been considered by the House of
        Lords and the Supreme Court in a series of recent cases, including Investors
        Compensation Scheme Ltd v West Bromwich Building Society [1998] 1 WLR 896,
        Chartbrook Ltd v Persimmon Homes Ltd [2009] UKHL 38, [2009] 1 AC 1101, Re
        Sigma Finance Corp [2009] UKSC 2, [2010] 1 All ER 571, Rainy Sky SA v Kookmin
        Bank [2011] UKSC 50 [2011] 1 WLR 2900, Aberdeen City Council v Stewart Milne
        Group Ltd [2011] UKSC 56, [2012] SLT 205 and Arnold v Britton [2015] UKSC 36,
        [2015] AC 1619. In brief summary, the interpretation of a contract is an objective
        exercise in which the court’s task is to ascertain the meaning that the document would
        convey to a reasonable person having all the background knowledge which would
        reasonably have been available to the parties in the situation in which they were at the
        time of the contract. This does not include evidence as to the subjective intentions of
        one or both of the parties or the pre-contractual negotiations.

52.     Although the Litigation Deed is a unilateral declaration rather than a contract, it is
        common ground that the same principles are applicable to the interpretation of this
        document.

Did either the Litigation Deed or the Litigation Agreement establish a trust?

53.     Ms Gorbunova alleges in paragraph 64.3 of her Amended Particulars of Claim that
        “the Trustees hold one-third of [Mr Berezovsky’s] rights under any compromise
        agreement with the [AP Family] and one-third of any property or sums received under
        such an agreement or agreements on trust for [Ms Gorbunova] by virtue of the
        Litigation Deed”. She also alleges in paragraph 64.1 that by virtue of the Litigation
        Agreement “[Mr Berezovsky] held and the Trustees now hold any rights he had
        against the [AP Family] upon trust for [her] and, save for the Costs Element (as to
        which the Trustees are required to provide an account), holds the proceeds of any
        settlement agreement upon trust for her”.

54.     In each case, the Trustees dispute these contentions for three reasons: first, because
        the words used do not create any trust; secondly, because the subject matter of the
        supposed trust is too uncertain; and thirdly, because any trust would be void pursuant
        to section 284 of the Insolvency Act 1986. The Trustees contend that each of these
        objections suffices to establish that Ms Gorbunova’s claim has no real prospect of
        success.

The law

55.     So far as the Trustees’ first objection is concerned, it is well established that it is not
        necessary for the settlor to use words such as “I declare myself a trustee”. But the
        words used must show that the settlor intended to dispose of property so that someone
        else acquired the beneficial interest to the exclusion of himself: see Richards v
        Delbridge (1874) LR 18 Eq 11 at 14 (Sir George Jessel MR), Re Schebsman [1944]
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        Ch 83 at 104 (du Parcq LJ), Paul v Constance [1977] 1 WLR 527 at 531 (Scarman
        LJ) and Tradegro (UK) Ltd v Wigmore Street Investments Ltd [2011] EWCA Civ 268,
        [2011] 2 BCLC 616 at [36] (Lord Neuberger of Abbotsbury MR). A mere intention to
        make a gift is insufficient for this purpose.

56.     Turning to the second objection, it is also well established that, in order for a trust to
        be properly constituted, the property the subject-matter of the trust must be identified
        with sufficient certainty: see Knight v Knight (1840) 3 Beav 148 at 173-174 (Lord
        Langdale MR), Mussoorie Bank v Raynor (1882) 7 App Cas 321 at 331 (Sir Arthur
        Hobhouse) and Re Snowdon (Deceased) [1979] Ch 528 at 534 (Sir Robert Megarry
        V-C).

57.     As for the third objection, section 284 provides, so far as relevant:

        “(1)    Where a person is adjudged bankrupt, any disposition of
                property made by that person in the period to which this
                section applies is void except to the extent that it is or was
                made with the consent of the court, or is or was subsequently
                ratified by the court.

        …

        (3)     This section applies to the period after the presentation of the
                petition for the bankruptcy order and ending with the vesting,
                under Chapter IV of this Part, of the bankrupt’s estate in a
                trustee.

        …”

58.     Article 3 of the Administration of Insolvent Estates of Deceased Persons Order 1986,
        SI 1999/1986, provides that the provisions of the Insolvency Act 1986 apply to
        insolvent estates with the amendments as set out under Schedule 1 of the Order.
        Article 12 of Part II of that Schedule provides that section 284 shall apply to insolvent
        estates:

               “...with the modification that they shall have effect as if the
               petition had been presented and the insolvency administration
               order had been made on the date of death of the deceased
               debtor.”

59.     The effect of these provisions is accordingly that any disposition of the deceased
        insolvent’s property after the date of his death is void: see Re Vos (Deceased) [2006]
        BPIR 348 (Chief Registrar Baister).

The Litigation Deed

60.     So far as the first objection is concerned, counsel for the Trustees submitted that the
        words used did not evidence an intention to make an immediate disposition of the
        beneficial interest in specified property, whether the prospective receipts from the
        Litigation or Mr Berezovsky’s rights under the Settlement Agreement. On the
        contrary, they amounted to a promise to pay: the obligation was described in clause 1
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        as a “covenant”, the covenant was to “pay or procure the payment” of money and
        clause 2 fixed the time the payment was due, which would be unnecessary if the
        Litigation Deed created a trust. Furthermore, the payment promised was of one third
        of “the value of” property recovered, which was inconsistent with a declaration of
        trust of the recovered property. Still further, clauses 1 and 3 both showed that it was
        intended that Mr Berezovsky should receive any property recovered through the
        Litigation beneficially, and not as trustee for Ms Gorbunova.

61.     Counsel for Ms Gorbunova submitted that, construed in the light of the relevant
        background, the substantive sense of the words used was that Mr Berezovsky
        intended to create a trust. I do not accept this submission. In my judgment the
        wording of the Litigation Deed does not evidence an intention to create a trust on the
        part of Mr Berezovsky of any property recovered through the Litigation, let alone of
        Mr Berezovsky’s rights under the Settlement Agreement, for all the reasons given by
        counsel for the Trustees. Ms Gorbunova’s case amounts to an attempt to re-write the
        Litigation Deed to say something it does not say.

62.     Turning to the second objection, counsel for the Trustees submitted that the subject
        matter of the purported trust was uncertain because it was not specific property, but
        rather one third of “the value of” whatever property might be recovered through the
        Litigation. Accordingly, Mr Berezovsky could have discharged his obligation by
        paying the appropriate amount from any source.

63.     Counsel for Ms Gorbunova accepted that the presence of the words “the value of” on
        the face of it made it difficult for Ms Gorbunova to contend that the Litigation Deed
        created a trust because those words did not refer to specific property. He submitted,
        however that, in the light of the relevant background, the Litigation Deed should be
        construed as if those words were not present. He argued that it was evident that
        something had gone wrong with the drafting of the Litigation Deed, and this could be
        cured by disregarding those words. I do not accept this argument. The Litigation Deed
        was drafted by Mr Berezovsky’s lawyer(s). It is a formal document which appears to
        have been carefully worded. Counsel for Ms Gorbunova was unable to point to
        anything in either the wording of the Litigation Deed itself or in the admissible
        background which suggests that the inclusion of “the value of” was a mistake. The
        argument amounts to a plea that the court should ignore part of the document because
        it is inconsistent with Ms Gorbunova’s case.

64.     As for the third objection, counsel for the Trustees submitted that, since it was clear
        from clauses 2 and 3 of the Litigation Deed that the obligation to pay only arose upon
        receipt of a recovery, any trust could only be of (one third of the value of) the
        recovered property once received by Mr Berezovsky. Accordingly, the trust would
        only be established upon receipt. Given that all of the monies in respect of which Ms
        Gorbunova asserted her trust claims were paid by the AP Family to the Estate in
        March 2014, the establishment of any trust in respect of those monies would amount
        to a disposition of Mr Berezovsky’s beneficial interest in those monies after his death.
        It would therefore be void.

65.     Counsel for Ms Gorbunova submitted that the Litigation Deed had created a trust of
        Mr Berezovsky’s rights under the Settlement Agreement. That trust had come into
        existence at the time of the Settlement Agreement, which was before Mr
        Berezovsky’s death. Again, I do not accept this argument. The Litigation Deed does
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        not refer to the Settlement Agreement, which was not at that date in prospect. Nor
        does it refer to Mr Berezovsky’s rights under any settlement of any of the Litigation.
        What it refers to is (one third of the value of) property recovered through the
        Litigation Agreement. Accordingly, in my judgment any trust was of the property
        when received. In the case of the monies received from the AP Family after Mr
        Berezovsky’s death, any such trust was void by virtue of section 284.

The Litigation Agreement

66.     Before turning to the Litigation Agreement itself, it is first necessary to say a few
        words about Mr Hastings’ email. Although both sides relied upon it to some extent,
        albeit for different purposes, I do not consider that it is admissible evidence as to the
        construction of the Litigation Agreement. This is because it is evidence of Mr
        Berezovsky’s subjective intentions and/or part of the pre-contractual negotiations.
        Even if I am wrong about that, however, I do not consider that it would make any
        difference to the conclusions I have reached.

67.     So far as the Trustees’ first objection is concerned, counsel for the Trustees submitted
        that, assuming it was enforceable, the words used did not evidence an intention to
        make an immediate disposition of the beneficial interest in specified property,
        whether the prospective receipts from the Settlement Agreement or Mr Berezovsky’s
        rights under the Settlement Agreement. On the contrary, they amounted to a
        conditional agreement on the part of Mr Berezovsky to transfer any monies received
        under the Settlement Agreement which were free of encumbrances or restrictions.
        Thus it was predicated upon receipt of the monies by Mr Berezovsky beneficially,
        which was inconsistent with Mr Berezovsky declaring himself a trustee of such
        monies. Furthermore, the Litigation Agreement was a promise to make a gift of
        monies in the future, if and when those monies were received. At the very most, it
        was a promise to declare a trust in the future, once the “new agreement” had been
        drawn up following the receipt by Ms Gorbunova of legal advice.

68.     Counsel for Ms Gorbunova submitted that, construed in the light of the relevant
        background, the substantive sense of the words used was that Mr Berezovsky
        intended to create a trust. I do not accept this submission. In my judgment the
        wording of the Litigation Agreement does not evidence an intention to create a trust
        on the part of Mr Berezovsky of any monies received under the Settlement
        Agreement, let alone of Mr Berezovsky’s rights under the Settlement Agreement, for
        all the reasons given by counsel for the Trustees. Ms Gorbunova’s case again amounts
        to an attempt to re-write the Litigation Agreement to say something it does not say.

69.     Turning to the second objection, counsel for the Trustees submitted that the subject-
        matter of the supposed trust was uncertain because of the words “free from
        encumbrances and restrictions”. Not only was it was unclear what “encumbrances and
        restrictions” there were, but also it was not clear what the amount would be subject to
        such encumbrances and restrictions. In this regard, counsel pointed out that, in her
        Amended Particulars of Claim, Ms Gorbunova appears to admit that, although she had
        understood at the time of the Litigation Agreement that sums of £13 million would be
        paid to Mr Abramovich and £1.5 million to Addleshaw Goddard (referred to as “the
        Costs Elements”) out of the sums payable under the Settlement Agreement, debts of
        £35 million to Mr Abramovich and about £13.7 million to Addleshaw Goddard were
        encumbrances or restrictions on the sums received under the Settlement Agreement. It
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        would not have been possible to quantify those sums at the date of the Litigation
        Agreement, however.

70.     Counsel for Ms Gorbunova submitted that the need to quantify the amount subject to
        encumbrances and restrictions did not mean that the subject-matter of the trust was
        uncertain, since it was essentially a mechanical exercise and the trust bit on whatever
        was left over. I do not accept this argument. In my judgment the subject-matter of the
        supposed trust is uncertain for the reasons given by counsel for the Trustees.

71.     As for the third objection, counsel for the Trustees submitted that any trust of the
        monies received under the Settlement Agreement was void for the same reasons as
        outlined above. Counsel for Ms Gorbunova submitted that, like the Litigation Deed,
        the Litigation Agreement had created a trust of Mr Berezovsky’s rights under the
        Settlement Agreement. Again, I do not accept this argument.

Conclusion

72.     For the reasons given above, I conclude that Ms Gorbunova has no real prospect of
        successfully contending that either the Litigation Deed or the Litigation Agreement
        created a trust of monies recovered from the Litigation or under the Settlement
        Agreement, let alone a trust of Mr Berezovsky’s rights in respect of the Litigation or
        under the Settlement Agreement. Accordingly, I will grant the Trustees summary
        judgment dismissing these claims.

73.     By way of a postscript to the preceding discussion, I should record that, following the
        conclusion of the argument on the Trustees’ application and in the context of Ms
        Gorbunova’s application, counsel for the Trustees submitted that it was not possible
        to create a trust of future property, as opposed to an equitable assignment, relying
        upon Re Ellenborough [1903] 1 Ch 697. Counsel for Ms Gorbunova submitted that it
        was possible to circumvent this rule, relying upon Lewin on Trusts (19th ed) at 2-38.
        Having regard to the conclusions reached above, it is not necessary for me to resolve
        this point.

Ms Gorbunova’s amendment application

74.     The Trustees do not oppose certain aspects of the amendment application, but they do
        oppose it in so far as it seeks to introduce claims for equitable assignment,
        rectification, proprietary estoppel and other estoppels on the ground that these new
        claims stand no real prospect of success. Counsel for the Trustees divided the
        amendments into three categories: first, allegations which suffered from essentially
        the same defects as, or added nothing to, the claims which were the subject of the
        Trustees’ application; secondly, allegations which were unsupported by evidence; and
        thirdly, allegations which were inconsistent with Ms Gorbunova’s evidence in her
        witness statement. So far as the second objection is concerned, I will say straightaway
        that in my judgment this is not a valid objection. Ms Gorbunova is prepared to sign a
        statement of truth in respect of the Re-Amended Particulars of Claim, and thus the
        statement of case will itself constitute evidence in support of the allegation. As for the
        other objections, I will consider them separately in relation to each cause of action.

75.     Before proceeding to consider the new causes of action sought to be introduced by the
        amendments, I should record for completeness that the amendments include a new
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        allegation that the Litigation Deed established a trust of Mr Berezovsky’s rights in
        respect of the Litigation. Even if it assumed that it is intended to allege that it
        established a trust of one-third of Mr Berezovsky’s rights in respect of the Litigation,
        I do not consider that this allegation is any more viable than those I have already
        rejected above. (If that is not the intention, the allegation is even more hopeless: “one
        third” cannot possibly mean all.) I will therefore refuse permission to introduce it.

Did either the Litigation Deed or the Litigation Agreement constitute an equitable
assignment?

76.     In the alternative to her claims that the Litigation Deed and the Litigation Agreement
        created trusts, Ms Gorbunova contends that they took effect as equitable assignments.
        This contention was first advanced in her Reply and is now sought to be introduced
        into the Particulars of Claim by amendment. Specifically, new paragraph 28B alleges
        inter alia that the Litigation Deed “took effect as an immediate assignment to [Ms
        Gorbunova] in equity of [Mr Berezovsky’s rights in the Litigation]” or in the
        alternative “took effect as an assignment for value of the future proceeds of [the
        Litigation]”. Again, I will assume that the words “one third of” have in each case been
        inadvertently omitted. New paragraph 34B alleges inter alia that the Litigation
        Agreement “took effect as an immediate assignment to [Ms Gorbunova] in equity of
        the benefit of [Mr Berezovsky’s] rights against the [AP Family] and/or under [the
        Settlement Agreement]” or in the alternative “took effect as an assignment for value
        of the future proceeds of [the Settlement Agreement]”.

77.     Although the Trustees do not accept that Ms Gorbunova gave consideration or value
        for any such assignments, so as to make them enforceable if they concerned future
        property, the Trustees do not dispute that Ms Gorbunova has a real prospect of
        success on this issue. I will therefore assume for present purposes that Ms Gorbunova
        did give consideration or value.

78.     The Trustees contend, however, that neither the Litigation Deed nor the Litigation
        Agreement on their construction amounts to an equitable assignment as alleged.

The law

79.     No particular form is required for a valid equitable assignment. Equity has always
        looked to the intent rather than the form, and all that is needed is a sufficient outward
        expression of an intention to make an immediate disposition of the assignor’s right:
        see Snell’s Equity (33rd ed) at 3-014.

The Litigation Deed

80.     Counsel for the Trustees submitted that the Litigation Deed did not express any
        intention on the part of Mr Berezovsky to assign any right of his to Ms Gorbunova,
        nor to assign one third of the future proceeds of the Litigation. Rather, as discussed
        above, it was merely a promise to pay her one third of the value of the property
        recovered from the Litigation.

81.     Counsel for Ms Gorbunova submitted that, construed in the light of the relevant
        background, the Litigation Deed did express an intention on the part of Mr
        Berezovsky to assign (one third of) his rights in the Litigation to Ms Gorbunova, or at
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        least (one third of) the future proceeds. I do not accept this argument. There is nothing
        in the wording of the Litigation Deed to support the suggestion that it was intended to
        amount to an assignment of Mr Berezovsky’s rights in the Litigation. Nor does the
        wording evince an intention to assign the future proceeds of the Litigation. As counsel
        for the Trustees submitted, it is simply a promise to pay one third of the value of the
        future recoveries.

82.     Counsel for the Trustees also submitted that, in so far it was alleged that the
        assignment was of the future proceeds of the Litigation, it was void pursuant to
        section 284. I accept that submission.

The Litigation Agreement

83.     Counsel for the Trustees submitted that the Litigation Agreement did not express any
        intention on the part of Mr Berezovsky to assign any right of his to Ms Gorbunova,
        nor to assign the proceeds of the Settlement Agreement. Rather, as discussed above, it
        was merely a conditional promise to pay her any sum Mr Berezovsky received from
        the Settlement Agreement which was free from encumbrances and restrictions.

84.     Counsel for Ms Gorbunova submitted that, construed in the light of the relevant
        background, the Litigation Agreement did express an intention on the part of Mr
        Berezovsky to assign his rights against the AP Family or under the Settlement
        Agreement to Ms Gorbunova, or at least the future proceeds. I do not accept this
        argument. There is nothing in the wording of the Litigation Agreement to support the
        suggestion that it was intended to amount to an assignment of Mr Berezovsky’s rights
        against the AP Family or under the Settlement Agreement. Nor does the wording
        evince an intention to assign the future proceeds of the Settlement Agreement.

85.     Counsel for the Trustees also submitted that, in so far it was alleged that the
        assignment was of the future proceeds of the Settlement Agreement, it was void
        pursuant to section 284. Again I accept that submission.

Conclusion

86.     For the reasons given above, I conclude that Ms Gorbunova has no real prospect of
        successfully contending that either the Litigation Deed or the Litigation Agreement
        amounted to an equitable assignment as alleged. Accordingly, I will refuse Ms
        Gorbunova permission to re-amend her Particulars of Claim to introduce these claims.

Ms Gorbunova’s claims for rectification

87.     In the alternative to her claims that, on their true construction, the Litigation Deed and
        the Litigation Agreement created trusts, Ms Gorbunova contends that they should be
        rectified to do so.

The law

88.     It is not necessary to discuss the law as to rectification of documents in any detail,
        because counsel for the Trustees’ principal submission was that the proposed
        amendments were inconsistent with Ms Gorbunova’s evidence. Rectification is
        available both for contracts and for voluntary settlements. Rectification may be based
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        upon either common mistake or unilateral mistake. A claim for rectification of a
        contract on the ground of common mistake will succeed only if it is established, first,
        that there was some prior agreement between the parties; secondly, that this was still
        effective when the instrument was executed; thirdly, that by mistake the instrument
        fails to carry out that agreement; and fourthly, that if rectified as claimed, the
        instrument would carry out the agreement: see Snell’s Equity at 16-013. A claim for
        rectification of a contract on the ground of unilateral mistake will only succeed if it is
        established that one party to the transaction knows that the instrument contains a
        mistake in his favour, but does nothing to correct it and seeks to take advantage of the
        other’s mistake: see Snell’s Equity at 16-019. Rectification of a voluntary settlement
        on the ground of unilateral mistake is possible upon sufficient proof of a mistake in
        carrying into effect the settlor’s intention: see Snell’s Equity at 16-021.

The Litigation Deed

89.     In new paragraph 28D of the proposed Re-Amended Particulars of Claim Ms
        Gorbunova alleges that:

               “… to the extent that the words used in the Litigation Deed do
               not record the intention of [Mr Berezovsky] (and [Ms
               Gorbunova]) to hold his rights in the litigation irrevocably and
               absolutely for the benefit of [Ms Gorbunova] (giving rise to a
               trust in favour of [Ms Gorbunova]), [Ms Gorbunova] seeks
               rectification of the Litigation Deed to record this intention. It
               was [Mr Berezovsky’s] intention, communicated to [Ms
               Gorbunova] both before and after the execution of the
               Litigation Deed that the effect of the Litigation Deed was that
               [Mr Berezovsky] would hold one third of his rights in respect
               of the named litigation for [Ms Gorbunova] absolutely.”

        This allegation is supported by a series of particulars pleaded in new paragraphs 28C-
        28C-6 and 28D.1-28.10.

90.     On this basis Ms Gorbunova claims the following relief in new paragraph 64.3A:

               “to the extent that the Litigation Deed does not reflect the
               intention of [Mr Berezovsky] (and [Ms Gorbunova]) that it
               would give rise to an immediate trust in favour of [Ms
               Gorbunova], rectification of the same by replacing the words
               ‘pay or procure the payment to HG of’ with ‘hold for HG’s
               benefit absolutely’ and (if necessary) deleting the words ‘the
               value of’.”

91.     Counsel for the Trustees submitted that there were two problems with this pleading.
        First, the intention pleaded in paragraph 28D and its supporting particulars did not
        support the rectification claimed in paragraph 64.3A: the former concerned the rights
        in the Litigation, whereas the latter still concerned the property recovered through the
        litigation. Secondly, and more fundamentally, the intention pleaded in paragraph 28D
        and its supporting particulars was inconsistent with Ms Gorbunova’s evidence, which
        was that Mr Berezovsky’s intention was to give her one third of the recoveries from
        the Litigation.
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92.     So far as the first point is concerned, counsel for Ms Gorbunova did not seriously
        dispute that there was a mismatch between the prayer for relief and the body of the
        pleadings, but submitted that the form of relief would be a matter for trial and that
        what mattered was the pleaded intention. In my view it is not satisfactory for the
        pleading not properly to set out the relief which Ms Gorbunova claims, but this is a
        matter that can be simply cured. I will proceed on the basis that what Ms Gorbunova
        seeks is rectification of the Litigation Deed so as to give effect to the intention
        pleaded in the second sentence of paragraph 28D. (I note in passing that paragraph
        28D is internally inconsistent, because the first sentence alleges an intention in respect
        of “his rights in the litigation” i.e. all of them, whereas the second sentence alleges an
        intention in respect of “one third of his rights”. As I understand Ms Gorbunova’s case,
        it is the latter formulation which reflects it.)

93.     Turning to the second point, counsel for Ms Gorbunova submitted that this was not a
        question which was susceptible of summary determination. At the trial the court
        would be able to take into account all the evidence bearing upon Mr Berezovsky’s
        intention. It would not be limited to the evidence of Ms Gorbunova in her witness
        statement. Moreover, it would be entitled to draw inferences from the available
        evidence. In substance, he argued, the Trustees were inviting the court to engage in a
        mini-trial of the issue on incomplete evidence, which was impermissible.

94.     I fully accept that the court is not entitled to conduct a mini-trial of this issue without
        the benefit of disclosure and oral evidence. Nevertheless, I do not consider that Ms
        Gorbunova stands a real prospect of establishing that Mr Berezovsky’s intention was
        as pleaded in paragraph 28D. Mr Berezovsky is of course dead. It is plain that the
        principal witness on whose evidence Ms Gorbunova will rely to establish that Mr
        Berezovsky’s intention was not correctly recorded in the Litigation Deed is herself.
        But Ms Gorbunova’s evidence, particularly in paragraph 130 of her witness statement,
        but also in other paragraphs such as paragraph 149, is that Mr Berezovsky’s intention
        was that Ms Gorbunova should receive one third of “any recovery [he] received from”
        the Litigation, not that she should have one third of his rights in the Litigation.
        Consistently with this, it is her evidence that Mr Berezovsky consulted her about the
        Litigation, but she does not suggest that she had the final say. On the contrary, it is
        clear from her account (e.g. at paragraph 151) that Mr Berezovsky did.

The Litigation Agreement

95.     In new paragraph 34D of the proposed Re-Amended Particulars of Claim Ms
        Gorbunova alleges that:

               “It was [Mr Berezovsky] and [Ms Gorbunova]’s shared
               common intention that the effect of the Litigation Agreement
               was that [Ms Gorbunova] would receive [Mr Berezovsky’s]
               rights against the [AP Family] and/or under the Settlement
               Agreement. That intention was communicated between [Mr
               Berezovsky] and [Ms Gorbunova]. To the extent that the
               Litigation Agreement does not reflect that common intention,
               [Ms Gorbunova] seeks rectification of the Litigation Deed to
               reflect this intention. In the alternative, [Mr Berezovsky] knew
               of [Ms Gorbunova’s] mistake and acted unconscionably in
               seeking to take advantage of it.”
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        This allegation is supported by particulars pleaded in new paragraphs 34A-34A.3.

96.     Counsel for the Trustees submitted that the intention pleaded in paragraph 34D and its
        supporting particulars was inconsistent with Ms Gorbunova’s evidence, which was
        that the parties’ intention was that Mr Berezovsky would give Ms Gorbunova the
        proceeds from the Settlement Agreement less the sums he had to pay Mr Abramovich
        and Addleshaw Goddard. Counsel for Ms Gorbunova again submitted that this issue
        was not susceptible of summary determination for the reasons given above.

97.     Again I accept that the court is not entitled to conduct a mini-trial of this issue, but I
        do not consider that Ms Gorbunova stands a real prospect of establishing that Mr
        Berezovsky’s intention was as pleaded in paragraph 34D. It is not her evidence that
        the parties’ intention was that Ms Gorbunova would receive Mr Berezovsky’s rights.
        Rather, it is her evidence particularly in paragraph 180 of her witness statement, that
        their intention was for Mr Berezovsky to give her the proceeds of the Settlement
        Agreement less the sums retained for Mr Abramovich and Addleshaw Goddard.

Conclusion

98.     For the reasons given above, I conclude that Ms Gorbunova’s claims for rectification
        have no real prospect of success. Accordingly, I will refuse Ms Gorbunova permission
        to re-amend her Particulars of Claim to introduce these claims.

Ms Gorbunova’s claims for proprietary estoppel and constructive trust

99.     In the alternative to her claims that, on their true construction or as rectified, the
        Litigation Deed and the Litigation Agreement created trusts, alternatively amounted
        to equitable assignments, Ms Gorbunova advances claims of proprietary estoppel and
        constructive trust.

The law

100.    Again, it is not necessary to go into the law in detail for present purposes. In broad
        terms, the three main elements of a claim for proprietary estoppel are a representation
        or assurance made to the claimant, reliance on that representation or assurance by the
        claimant and detriment to the claimant as a result of such reliance: see Snells’ Equity
        at 12-038. As will appear, the constructive trust asserted by Ms Gorbunova appears to
        be a common intention constructive trust. This is a doctrine which is normally applied
        to land, rather than personalty: see Snells’ Equity at 24-041. Even assuming that it can
        apply to personalty (as claims founded on proprietary estoppel can: see Fisher v
        Brooker [2009] UKHL 41, [2009] 1 WLR 1764), there is little difference between a
        common intention constructive trust and a claim founded on proprietary estoppel: see
        Snell’s Equity at 24-047. In the present case I cannot see what the common intention
        constructive trust claim adds to the proprietary estoppel claim, and I will therefore
        concentrate on the latter.

The Litigation Deed

101.    In new paragraph 28E of the proposed Re-Amended Particulars of Claim Ms
        Gorbunova alleges that:
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              “… [the Trustees] hold the assets in their hands deriving from
              [the Settlement Agreement] on constructive trust to give effect
              to the terms of [the Litigation Deed] and to give effect to [Mr
              Berezovsky’s] intention (shared with [Ms Gorbunova]. Further
              or in the alternative, [Ms Gorbunova] has established an equity
              by proprietary estoppel in the causes of action described in the
              Litigation Deed and the proceeds of those causes of action to
              give effect to the assurances of [Mr Berezovsky] pleaded at
              paragraph 28C.”

102.   New paragraph 28C alleges that:

              “[Mr Berezovsky] by his words and conduct assured [Ms
              Gorbunova] that the Litigation Deed was enforceable and had
              the effect set out above, and in particular gave rise to beneficial
              rights in [Ms Gorbunova’s] favour in respect of the litigation
              identified in the Litigation Deed. …”

       Particulars are then given of assurances alleged to have been given in December 2011,
       January 2012 and March 2012.

103.   Paragraph 28C concludes by alleging that:

              “… [Ms Gorbunova] relied on these assurances … to her
              detriment by signing the documents for the sale of Wentworth
              Park, taking no further steps in relation to pursuing any claims
              against [Mr Berezovsky] and by forbearing to sue in respect of
              any such claims.”

104.   Counsel for the Trustees again submitted that pleaded assurances by Mr Berezovsky
       relied upon were inconsistent with Ms Gorbunova’s evidence. Counsel for Ms
       Gorbunova again submitted that this was not an issue susceptible of summary
       determination.

105.   Again, I am conscious that it is not permissible to conduct a mini-trial at this stage.
       Nevertheless, I agree with counsel for the Trustees that the case sought to be pleaded
       is inconsistent with Ms Gorbunova’s evidence. She does not say in her witness
       statement that Mr Berezovsky gave her any assurance in the December 2011
       conversation, the January 2012 conversation or March 2012 that she would receive
       any beneficial rights in respect of the Litigation or its proceeds. Rather, her evidence,
       particularly in paragraphs 110-112 and 130, is that what Mr Berezovsky promised her
       was that she would get a one-third share of any recovery he received from the
       Litigation.

The Litigation Agreement

106.   In new paragraph 34C of the proposed Re-Amended Particulars of Claim Ms
       Gorbunova alleges that:

              “… [the Trustees] hold the assets in their hands deriving from
              [the Settlement Agreement] on constructive trust to give effect
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              to the terms of [the Litigation Agreement]. Further or in the
              alternative, [Ms Gorbunova] has established an equity by
              proprietary estoppel in the claims against the [AP Family]
              and/or the benefit accruing to [Mr Berezovsky] under the
              [Settlement Agreement].”

107.   New paragraph 34A alleges that:

              “[Mr Berezovsky] by his words and conduct assured [Ms
              Gorbunova] … that the Litigation Agreement was enforceable
              and gave rise to beneficial rights in [Ms Gorbunova’s] favour in
              respect of [Mr Berezovsky’s] rights against the [AP Family]
              and/or under the [Settlement Agreement] . …”

       Particulars are then given in paragraphs 34A.1-34A.3 of assurances alleged to have
       been given on 7 and 8 September 2012.

108.   Paragraph 34A concludes by alleging that:

              “… [Ms Gorbunova] relied on these assurances … to her
              detriment by signing the letters of consent and by forbearing to
              sue in respect of any claims she might have had against [Mr
              Berezovsky] or his property following the end of their
              relationship in late 2011.”

109.   Counsel for the Trustees again submitted that pleaded assurances by Mr Berezovsky
       relied upon were inconsistent with Ms Gorbunova’s evidence. Counsel for Ms
       Gorbunova again submitted that this was not an issue susceptible of summary
       determination.

110.   Again, I am conscious that it is not permissible to conduct a mini-trial at this stage.
       Nevertheless, I agree with counsel for the Trustees that the case sought to be pleaded
       is inconsistent with Ms Gorbunova’s evidence. She does not say in her witness
       statement that Mr Berezovsky gave her any assurance on 7 or 8 September 2012 that
       she would receive any of Mr Berezovsky’s rights against the AP Family or under the
       Settlement Agreement. Rather, her evidence, particularly in paragraph 180, is that
       what Mr Berezovsky promised her was that he would give her the money he received
       under the Settlement Agreement less the sums owed to Mr Abramovich and
       Addleshaw Goddard. I would add that the particulars pleaded in new paragraphs
       34A.1-34A.3 are consistent with Ms Gorbunova’s evidence and thus do not support
       the plea in paragraph 34A.

Conclusion

111.   For the reasons given above, I conclude that Ms Gorbunova’s claims for proprietary
       estoppel and constructive trust have no real prospect of success. Accordingly, I will
       refuse Ms Gorbunova permission to re-amend her Particulars of Claim to introduce
       these claims.
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Other estoppels

112.   Although the draft Re-Amended Particulars of Claim includes allegations of estoppel
       by convention in relation to both the Litigation Deed and the Litigation Agreement,
       these allegations were not pursued by counsel for Ms Gorbunova. If and to the extent
       that any of the other estoppels sought to be introduced by the draft Re-Amended
       Particulars of Claim are still pursued and have not already been dealt with, they do not
       appear to add anything to Ms Gorbunova’s case. If there are any points of substance
       which I have failed to deal with, however, I will hear further argument when this
       judgment is handed down.

Overall conclusions

113.   For the reasons given above, I will grant the Trustees summary judgment as sought by
       their application. Save to the extent that it is consented to, I will refuse Ms
       Gorbunova’s application to re-amend the Particulars of Claim.
